Case 6:22-cv-00022-NKM-RSB Document 34 Filed 08/05/22 Page 1 of 3 Pageid#: 202




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION




 TRINITY TANK CAR, INC., et al.,

                Plaintiff,
        v.                                               Civil Action No. 6:22-cv-22-NKM-RSB

 DAVIS-FROST, INC.,

                Defendant.




 DAVIS-FROST, INC.,

                Third-Party Plaintiff,
        v.

 BRENNTAG SPECIALTIES, INC.;
 BRENNTAG SPECIALTIES, LLC; and
 BRENNTAG NORTH AMERICA, INC.

                Third-Party Defendants.




                         NOTICE OF APPEARANCE OF KC HOVDA


        The undersigned KC Hovda files her appearance on behalf of Third-Party Defendants,

 BRENNTAG SPECIALTIES, INC. now known as BRENNTAG SPECIALTIES, LLC and

 BRENNTAG NORTH AMERICA, INC. (collectively, “Brenntag”), in the within-captioned

 matter and, further, requests copies of future notices in this matter.
Case 6:22-cv-00022-NKM-RSB Document 34 Filed 08/05/22 Page 2 of 3 Pageid#: 203




 Dated: August 5, 2022                 Respectfully submitted,




                                       By:     /s/ KC Hovda
                                             KC Hovda
                                             (admitted pro hac vice)
                                             Phillip Allan Trajan Perez
                                             (admitted pro hac vice)
                                             MILLER NASH LLP
                                             340 Golden Shore, Ste 450
                                             Long Beach, CA 90802
                                             Telephone: 562.435.8002
                                             Facsimile: 562.435.7967
                                             kc.hovda@millernash.com
                                             trajan.perez@millernash.com

                                       Attorneys for Third-Party Defendants
                                       BRENNTAG SPECIALTIES, LLC and
                                       BRENNTAG NORTH AMERICA, INC.




                                     -2-
Case 6:22-cv-00022-NKM-RSB Document 34 Filed 08/05/22 Page 3 of 3 Pageid#: 204




                                   CERTIFICATE OF SERVICE

        I hereby certify that on August 5, 2022, the foregoing document was electronically filed

 with the Clerk of the Court using the CM/ECF system, which will send notification of such

 filing, effecting service on all counsel of record.



                                                By:      /s/ KC Hovda
                                                       KC Hovda
                                                       (admitted pro hac vice)
                                                       Phillip Allan Trajan Perez
                                                       (admitted pro hac vice)
                                                       MILLER NASH LLP
                                                       340 Golden Shore, Ste 450
                                                       Long Beach, CA 90802
                                                       Telephone:       562.435.8002
                                                       Facsimile:       562.435.7967
                                                       kc.hovda@millernash.com
                                                       trajan.perez@millernash.com

                                                       Attorneys for Third-Party Defendants
                                                       BRENNTAG SPECIALTIES, LLC and
                                                       BRENNTAG NORTH AMERICA, INC




                                                  -3-
